                           Case 20-10883       Doc 168    Filed 05/06/21    Page 1 of 1

                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                          at Greenbelt
                                   In re:   Case No.: 20−10883 − LSS   Chapter: 7

Kempes Jean and
Lori Lee Jean
Debtors

                                                     NOTICE

PLEASE TAKE NOTICE that a hearing will be held

on 6/7/21 at 10:00 AM
by videoconference or teleconference
(for hearing access information see www.mdb.uscourts.gov/hearings or call 410−962−2688)

to consider and act upon the following:

154 − Motion To Hold Debtors And Their Counsel In Contempt For Failure To Obey Court Order And To Impose
Appropriate Sanctions To Coerce Compliance With Court Order Filed by Gary A. Rosen. (Attachments: # 1 Exhibit 1
− Email dated 4/15/21 # 2 Proposed Order) (Mastro, Frank). Related document(s) 142 Order (Generic). Modified on
4/20/2021 (Maloney−Raymond, Michelle).


163 − Opposition on behalf of Kempes Jean, Lori Lee Jean Filed by Sari Karson Kurland (related document(s)154
Motion for Contempt filed by Trustee Gary A. Rosen). (Kurland, Sari)


164 − Response on behalf of Gary A. Rosen Filed by Frank J. Mastro (related document(s)163 Opposition filed by
Debtor Kempes Jean, Debtor Lori Lee Jean). (Attachments: # 1 Exhibit 1 − Letter) (Mastro, Frank)


165 − Support Document Filed by Sari Karson Kurland (related document(s)163 Opposition filed by Debtor Kempes
Jean, Debtor Lori Lee Jean). (Kurland, Sari)




NOTICE TO MOVING PARTY

A service list or certificate of service regarding parties noticed by the court may be obtained through CM/ECF
or PACER. If you believe that a party entitled to notice is not listed, please provide notice to that party
forthwith and file an appropriate certification with the Clerk's office.



Dated: 5/6/21
                                                          Mark A. Neal, Clerk of Court
                                                          by Deputy Clerk, Michelle Maloney−Raymond
                                                          410−962−4373



Form ntchrgmdb (rev. 06/08/2020)
